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                              IN THE UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,                        )
                                                 )
                 Plaintiff,                      )   CRIMINAL NO. 19-3113-JB
                                                 )
       vs.                                       )
                                                 )
ROBERT PADILLA, ET AL,                           )
                                                 )
                 Defendant.                      )

                               NOTICE OF ENTRY OF APPEARANCE

       The United States of America notifies the Court that RANDY M. CASTELLANO,

Assistant United States Attorney, hereby enters his appearance as co-counsel on behalf of the

United States.

       The United States requests that all notices, pleadings, and correspondence regarding this case

also be delivered to the attention of RANDY M. CASTELLANO.

                                                     Respectfully submitted,

                                                     ALEXANDER M.M. UBALLEZ
                                                     United States Attorney


                                                     /s/ Electronically Filed 1/17/24
                                                     RANDY M. CASTELLANO
                                                     Assistant United States Attorney
                                                     200 N. Church Street
                                                     Las Cruces, NM 88001
                                                     (575) 522-2304 - Tel.
                                                     (575) 522-2391 - Fax
I HEREBY CERTIFY that I electronically
filed the foregoing with the Clerk of the
Court using the CM/ECF system which
will send electronic notification to defense
counsel of record.

/s/ Electronically Filed 1/17/24
RANDY M. CASTELLANO
Assistant United States Attorney
